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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                      )
UNITED STATES OF AMERICA                              )
                                                      )
       v.                                             )
                                                      ) Criminal Action No. 14-10363-RGS
BARRY J. CADDEN, et al.                               )
                                                      )
                                                      )
       Defendants.
                                                      )


    DEFENDANTS’ JOINT MOTION IN LIMINE FOR SEQUESTRATION ORDER


       Pursuant to Fed. R. Evid. 615, Defendants Joseph M. Evanosky, Gene Svirskiy,

Christopher M. Leary, Alla V. Stepanets, Sharon P. Carter, and Greg Conigliaro respectfully

request the Court to enter a sequestration order barring any witnesses the Government plans to

call, other than the Parties and principal government case agent, during its case-in-chief, from

being present in the courtroom when not testifying.


Respectfully submitted,

JOSEPH M. EVANOSKY,                                GENE SVIRSKIY,
By his attorneys,                                  By his attorneys,



/s/ Dana M. McSherry                               /s/ Jeremy M. Sternberg
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Dana M. McSherry (BBO #664430)                     Christopher M. Iaquinto (BBO #685718)
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By his attorneys,                      By her attorney,



/s/ Paul V. Kelly                      /s/ John H. Cunha Jr.
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/s/ Michael J. Pineault                /s/ Daniel Rabinovitz
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October 11, 2018




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                    CERTIFICATE PURSUANT TO L.R. 7.1 AND 112.1

        I hereby certify that I conferred with Assistant United States Attorney Amanda Strachan
in a good faith effort to resolve or narrow the issues raised by this motion pursuant to L.R. 7.1
and 112.1.

                                             /s/ Dana M. McSherry
                                              Dana M. McSherry




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                                CERTIFICATE OF SERVICE

        I, Dana M. McSherry, hereby certify that this document was filed on October 11, 2018,
via the ECF system, and was sent electronically on that date to the parties’ counsel of record.

                                             /s/ Dana M. McSherry
                                              Dana M. McSherry




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